                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION


SELECT AUTO IMPORTS
INCORPORATED,

       Plaintiff,
                                                         Case No. l:15-cv-00679-GBL-JFA
       V.



YATES SELECT AUTO SALES, LLC,

       Defendant.

                         MEMORANDUM OPINION AND ORDER


       This matter is before the Court on the two-day non-jury trial of Select Auto Imports,

Incorporated's ("Select Auto Imports") claims against Defendants Yates Select Auto Sales, LLC

and Jeffrey Lee Yates (collectively, "Yates Select Auto Sales") seeking both injunctive reliefand

monetary damages for trademark infringement and unfair competition under §§ 32 and 43(a) of
the Federal Trademark Act (the "Lanham Act"), Virginia Code § 59.1-92.12 (the "Virginia

Trademark and Service Mark Act"), Virginia common law, and for trademark cyberpiracy under

Section 43(d) of the Lanham Act.

       On November 16, 2015, the Court entered a Stipulation dismissing Defendant Saleiman

Azizi and dismissing theclaim for monetary damages (Doc. 31). Plaintiff withdrew its claim for

trademark cyberpiracy (Coimt III) in its Opposition to Motion for Summary Judgement (Doc.

54). On January 6, 2016, the Court entered a Stipulation dismissing with prejudice Plaintiffs

clauns for attorney's fees (Doc. 71). The sole remaining reliefsought by Select Auto Imports is a

claim for injunctive reliefwith respect to claims for federal trademark infringement in violation

of § 32 of the Lanham Act, 15 U.S.C. § 1114 (Count I), unfair competition and false designation

of origin in violation of § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) (Count II), trademark
